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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NO. 18-CV-10739-RWZ

AP MA FUNDING LLC
V.

34 N. PEARL STREET, LLC and
BRAEMOOR HEALTH CENTER, LLC

ORDER

December 8, 2020

Zobel, S.D.J.

Interested parties, Michael D. Martin and Jessica A. Martin, move for permission
to proceed in state court against defendant Braemoor Health Center, LLC, Synergy
Health Centers, LLC, and related entities to the extent of available insurance coverage.
Docket #72. The court allowed that motion, but subsequently granted defendants
motion to reconsider the order. Docket # 79. In light of recent filings, the court deems a

hearing would be useful.

December 8, 2020 (oa) a4

DATE RYA W. ZOBEL
UNITEDSTATES DISTRICT JUDGE
